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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                            MIDLAND-ODESSA DIVISION


KYLE KENWORTHY, CHAD HENSLEY,                                                             PLAINTIFFS
STEPHEN MAKANJU, TED WILLIAMS and
MICHAEL SPERLING, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                       No. 7:20-cv-111


NEXTIER OILFIELD SOLUTIONS, INC.,                                                        DEFENDANTS
NEXTIER COMPLETION SOLUTIONS, INC.,
and C&J ENERGY SERVICES, INC.


                   ORIGINAL COMPLAINT—COLLECTIVE ACTION


       COME NOW Plaintiffs Kyle Kenworthy, Chad Hensley, Stephen Makanju, Ted

Williams and Michael Sperling (collectively “Plaintiffs”), each individually and on behalf

of all others similarly situated, by and through their attorney Josh Sanford of Sanford

Law Firm, PLLC, and for their Original Complaint—Collective Action against Defendant

NexTier Oilfield Solutions, Inc., NexTier Completion Solutions, Inc., and C&J Energy

Services, Inc. (collectively “Defendant” or “Defendants”), they state and allege as

follows:

                                I. PRELIMINARY STATEMENTS

       1.     This is a collective action brought by Plaintiffs, each individually and on

behalf of all other similarly situated employees of Defendant at any time within a three-

year period preceding the filing of this Complaint.

       2.     Plaintiffs bring this action under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”), for declaratory judgment, monetary damages, liquidated
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damages, prejudgment interest, and costs, including reasonable attorneys’ fees, as a

result of Defendant’s failure to pay Plaintiffs and all others similarly situated lawful

overtime compensation for hours in excess of forty (40) hours per week.

       3.     Upon information and belief, for at least three (3) years prior to the filing of

this Complaint, Defendant has willfully and intentionally committed violations of the

FLSA as described, infra.

                             II.      JURISDICTION AND VENUE

       4.     The United States District Court for the Western District of Texas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

       5.     Defendant conducts business in this District and a substantial part of the

events alleged herein occurred in this District.

       6.     Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and

(c)(2), because the State of Texas has personal jurisdiction over Defendant, and

Defendant therefore “resides” in Texas.

       7.     On information and belief, the payroll records and other documents related

to the payroll practices that Plaintiffs challenge are located in this District.

                                       III.     THE PARTIES

       8.     Plaintiff Kyle Kenworthy (“Kenworthy”) is an individual and a citizen and

resident of Tom Green County.

       9.     Plaintiff Chad Hensley (“Hensley”) is an individual and a citizen and

resident of Chaves County, New Mexico.



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       10.    Plaintiff Stephen Makanju (“Makanju”) is an individual and a citizen and

resident of Denton County.

       11.    Plaintiff Ted Williams (“Williams”) is an individual and a citizen and

resident of Denton County.

       12.    Plaintiff Michael Sperling (“Sperling”) is an individual and resident of Bowie

County.

       15.    Defendant NexTier Oilfield Solutions, Inc., (“NexTier Oilfield”), is a foreign,

for-profit corporation registered to do business in Texas.

       16.    NexTier Oilfied’s registered agent for service is C T Corporation System,

at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       17.    Defendant NexTier Completion Solutions, Inc. (“NexTier Completion”), is a

foreign, for-profit corporation registered to do business in Texas.

       18.    NexTier Completion’s registered agent for service is C T Corporation

System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       19.    Defendant C&J Energy Services, Inc. (“C&J”) is a foreign, for-profit

corporation registered to do business in Texas.

       20.    C&J’s registered agent for service is CSC-Lawyers Incorporating, at 211

East 7th Street, Suite 620, Austin, Texas 78701.

       21.    Defendant maintains a website at https://nextierofs.com/.

                              IV.      FACTUAL ALLEGATIONS

       22.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated herein.

       23.    Defendants have unified operational control and management, as well as
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control over employees, including shared power to supervise, hire and fire, establish

wages and wage policies and set schedules for their employees through unified

management.

       24.    Upon information and belief, the revenue generated from Defendants’

entities is merged and managed in a unified manner.

       25.    As a result of this unified operation, control and management, through

shared employees and ownership with the authority to establish wages and wage

policy, Defendants operated as a single enterprise.

       26.    Defendant’s annual gross volume of sales made or business done was not

less than $500,000.00 (exclusive of exercise taxes at the retail level that are separately

stated) during each of the three calendar years preceding the filing of this Complaint.

       27.    Defendant was at all times relevant hereto Plaintiffs’ employer, as well as

the employers of the members of the proposed collectives and are and have been

engaged in the interstate commerce as that term is defined under the FLSA.

       28.    Defendant operates an oil and natural gas company with locations across

the United States including several in Texas.

       29.    Upon information and belief, NexTier Oilfield and NexTier Solutions were

formed when C&J merged with another company. However, C&J maintains a separate

filing with the Secretary of State, although its principal address is the same as that of

the NexTier Defendants.

       30.    Plaintiffs were hired by Defendant as salaried employees at Defendant’s

location in Midland, during the three years preceding the filing of this Complaint.

       31.    At all times material herein, Plaintiffs and similarly situated employees
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have been misclassified by Defendant as salaried employees and as exempt from the

overtime requirements of the FLSA, 29 U.S.C. § 207.

       32.    At all relevant times herein, Defendant directly hired Plaintiffs and similarly

situated employees to work at its job sites, paid them wages and benefits, controlled

their work schedules, duties, protocols, applications, assignments and employment

conditions, and kept at least some records regarding her employment.

       33.    At all times material hereto, Plaintiffs were entitled to the rights, protection

and benefits provided under the Fair Labor Standards Act 29 U.S.C. § 201, et seq.

       A.     Plaintiff Kenworthy

       34.    Kenworthy worked for Defendant as an hourly employee from November

of 2016 until July of 2018, and as a salaried Field Supervisor from July of 2018 to the

present.

       35.    Defendant classified Kenworthy as exempt from the FLSA and did not pay

him an overtime premium for all hours worked over forty (40) each week.

       36.    Kenworthy regularly worked in excess of forty (40) hours per week.

       37.    As a Field Supervisor, Kenworthy’s primary job duty was supervising work

crews at job sites.

       38.    Kenworthy did not hire or fire any other employee, and although

Kenworthy sometimes made recommendations for hiring and firing, no particular weight

was given to his recommendations.

       39.    Kenworthy did not manage the enterprise or any customarily recognized

department or subdivision of the enterprise.

       40.    Kenworthy was misclassified by Defendant as exempt under the FLSA,
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and was not paid an hourly rate of one and one-half times his regular rate of pay for

every hour worked over forty (40) per week.

       B.    Plaintiffs Hensley, Makanju and Williams

       41.   Hensley worked for Defendant as a salaried Field Engineer from April of

2018 until March of 2020.

       42.   Makanju worked for Defendant as a salaried Field Engineer from October

of 2018 to the present.

       43.   Williams worked for Defendant as a salaried Field Engineer from February

of 2018 until March of 2020.

       44.   Defendant      classified     Hensley,       Makanju       and      Williams (collectively

“Engineer Plaintiffs”) as exempt from the FLSA and did not pay them an overtime

premium for all hours worked over forty (40) each week.

       45.   Engineer Plaintiffs regularly worked in excess of forty (40) hours per week.

       46.   As Field Engineers, Engineer Plaintiffs’ primary job duties were completing

calculations related to jobs, monitoring coil tubing piping and ensuring that it stayed

within operable pressure and fatigue limits and performing post-job documentation for

clients.

       47.   Engineer Plaintiffs did not hire or fire any other employee, and although

they sometimes made recommendations for hiring and firing, no particular weight was

given to their recommendations.

       48.   Engineer Plaintiffs did not manage the enterprise or any customarily

recognized department or subdivision of the enterprise.

       49.   Engineer Plaintiffs were misclassified by Defendant as exempt under the
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FLSA and were not paid an hourly rate of one and one-half times their regular rate of

pay for every hour worked over forty (40) per week.

       C.     Plaintiff Sperling

       50.    Sperling worked as a salaried Specialist II from July of 2017 to January of

2018, and as an hourly Specialist II from January of 2018 to June of 2019.

       51.    When Defendants paid Sperling a salary, they classified him as exempt

from the FLSA and did not pay him an overtime premium for all hours worked over forty

(40) each week.

       52.    Sperling regularly worked in excess of forty (40) hours per week.

       53.    As a Specialist II, Sperling’s primary job duty was to run the pumps at job

sites, as well as rigging up and rigging down.

       54.    Sperling did not hire or fire any other employee, and no particular weight

was given to his recommendations to hire or fire.

       55.    Sperling did not manage the enterprise or any customarily recognized

department or subdivision of the enterprise.

       56.    Sperling was misclassified by Defendant as exempt under the FLSA, and

was not paid an hourly rate of one and one-half times his regular rate of pay for every

hour worked over forty (40) per week

                       IV.      REPRESENTATIVE ALLEGATIONS

       57.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

       58.    At all relevant times, Plaintiffs and all others similarly situated have been

entitled to the rights, protections and benefits provided by the FLSA.
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         59.   Plaintiffs bring their claims for relief for violation of the FLSA as a

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of

all persons who were, are, or will be employed by Defendant as similarly situated

salaried employees at any time within the applicable statute of limitations period, who

are entitled to payment of the following types of damages:

         A.    Overtime premiums for all hours worked in excess of forty per week;

         B.    Liquidated damages; and

         C.    The costs of this action, including attorney’s fees.

         60.   Plaintiffs propose the following collective under the FLSA:

                          All salaried Field Supervisors, Field Engineers
                             and Specialists II in the past three years.

         61.   In conformity with the requirements of FLSA Section 16(b), each Plaintiff

has filed or will soon file written a Consent to Join this lawsuit.

         62.   The relevant time period dates back three years from the date on which

Plaintiffs’ Original Complaint—Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         63.   The proposed FLSA collective members are similarly situated in that they

share these traits:

         64.   They were misclassified as salaried employees;

         65.   They were not paid proper overtime wages as required by the FLSA;

         66.   They worked more than 40 hours in some weeks; and

         67.   They had substantially similar job duties, requirements, and pay


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provisions.

        68.   Plaintiffs are unable to state the exact number of the class but believe that

there are approximately thirty (30) other employees who worked as Field Supervisors,

Field Engineers or Specialists II, and were misclassified as salaried employees.

        69.   The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendant, and notice should be provided

to the probable FLSA collective action plaintiffs via first class mail to their last known

physical and mailing addresses as soon as possible.

        70.   The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant, and notice should be provided to the probable

FLSA collective action plaintiffs via email to their last known email address as soon as

possible.

        71.   Defendants knew or should have known that their actions violated the

FLSA.

        72.   Defendant’s actions in denying overtime wages to Plaintiffs and all other

similarly situated employees were intentional and constitute a willful violation of the

FLSA.

                           V.     FIRST CAUSE OF ACTION
                     (Individual Claims for Violation of the FLSA)

        73.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

        74.   Plaintiffs assert this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.


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       75.    At all times relevant to this Complaint, Defendant has been Plaintiffs’

“employer” within the meaning of the FLSA, 29 U.S.C. § 203.

       76.    At all times relevant to this Complaint, Defendant has been, and continues

to be, an enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. §

203.

       77.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half times regular wages for all hours worked over forty (40)

hours in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       78.    At all times relevant times to this Complaint, Defendant misclassified

Plaintiffs as exempt from the overtime requirements of the FLSA.

       79.    Despite the entitlement of Plaintiffs to overtime payments under the FLSA,

Defendant failed to pay Plaintiffs an overtime rate of one and one-half times their

regular rate of pay for all hours worked over forty (40) in each week.

       80.    Defendant’s failure to pay Plaintiffs all overtime wages owed was willful.

       81.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages, and costs, including reasonable

attorneys’ fees, for all violations that occurred within the three (3) years prior to the filing

of this Complaint.

                         VII. SECOND CAUSE OF ACTION
                  (Collective Action Claim for Violation of the FLSA)

       82.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as


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though fully incorporated in this section.

       83.     Plaintiffs, each individually and on behalf of all others similarly situated,

assert this claim for damages and declaratory relief pursuant to the FLSA, 29 U.S.C. §

201, et seq.

       84.     At all times relevant times to this Complaint, Defendant has been, and

continues to be, an “employer” of Plaintiffs and all those similarly situated within the

meaning of the FLSA, 29 U.S.C. § 203.

       85.     At all times relevant to this Complaint, Defendant misclassified Plaintiffs

and all others similarly situated as exempt from the overtime requirements of the FLSA.

       86.     Despite the entitlement of Plaintiffs and those similarly situated to overtime

payments under the FLSA, Defendant failed to pay Plaintiffs and all those similarly

situated an overtime rate of one and one-half times their regular rates of pay for all

hours worked over forty (40) in each one-week period.

       87.     Defendant willfully failed to pay overtime wages to Plaintiffs and to others

similarly situated.

       88.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and all those similarly situated for monetary damages, liquidated damages,

and costs, including reasonable attorneys’ fees, for all violations that occurred within the

three (3) years prior to the filing of this Complaint.

                                  VIII.    PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Kyle Kenworthy, Chad Hensley,

Stephen Makanju, Ted Williams and Michael Sperling, each individually and on behalf

of all others similarly situated, respectfully pray as follows:
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       A.     That Defendant be summoned to appear and answer this Complaint;

       B.     That Defendant be required to account to Plaintiffs, the collective

members, and the Court for all monies paid to Plaintiffs and the collective members;

       C.     A declaratory judgment that Defendant’s practices alleged herein violate

the FLSA;

       D.     Certification of, and proper notice to, together with an opportunity to

participate in the litigation, the classes of all qualifying current and former employees;

       E.     Judgment for damages for all unpaid overtime wage compensation owed

under the FLSA;

       F.     Judgment for liquidated damages pursuant to the FLSA;

       G.     An order directing Defendant to pay Plaintiffs and members of the

collectives prejudgment interest, reasonable attorney’s fees and all costs connected

with this action;

       H.     For a reasonable attorney’s fee, costs, and pre-judgment interest; and

       I.     Such other and further relief as this Court may deem just and proper.




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                                                Respectfully submitted,

                                                KYLE KENWORTHY, CHAD HENSLEY,
                                                STEPHEN MAKANJU, TED WILLIAMS
                                                and MICHAEL SPERLING, Each
                                                Individually and on Behalf of All
                                                Others Similarly Situated, PLAINTIFFS

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                                                /s/ Josh Sanford_____
                                                Josh Sanford
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